     Case: 3:10-cv-00321-TMR Doc #: 5 Filed: 11/30/10 Page: 1 of 1 PAGEID #: 23




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION


COLLEEN VENTURA,

                Plaintiff(s)
                                                              Case No. 3:10-CV-321
        vs

UNITED RECOVERY SYSTEMS, LP.,                                 Judge Thomas M. Rose

                Defendant(s)


                         ORDER OF DISMISSAL: TERMINATION ENTRY

        The Court having been advised by counsel for the parties that the above matter has been
settled, IT IS ORDERED that this action is hereby DISMISSED, with prejudice as to the parties,
provided that any of the parties may, upon good cause shown within 60 days, reopen the action if
settlement is not consummated.
        Parties intending to preserve this Court’s jurisdiction to enforce the settlement should be
aware of Kokkonen v. Guardian Life Ins. Co. of America, 114 S.Ct. 1673 (1994), and incorporate
appropriate language in any substituted judgment entry.
        The Court will retain jurisdiction to enforce the terms of the settlement between the
parties, if necessary.
        IT IS SO ORDERED.


                                                              s/ Thomas M. Rose
Date: November 30, 2010
                                                      Thomas M. Rose, Judge
                                                      United States District Court
